

ORDER

PER CURIAM.
AND NOW, this 17th day of December, 2004, a Rule having been entered by this Court on November 4, 2004, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Thomas James Bonavita to show cause why he should not be placed on temporary suspension, upon consideration of the responses filed, it is hereby
ORDERED that the Rule is made absolute; Thomas James Bonavita is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
